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PROB 35 (ED/CA)

                        Report and Order Terminating Supervised Release
                                Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                    FOR THE


                              EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                         )
                                                       )
                             v.                        )
                                                       )       Docket No.: 0972 2:11CR00428-006
                    Ryder Dee Phillips                 )
                                                       )
                                                       )


On 5/23/2014, the above-named was sentenced to Supervised Release for a period of 3 years.
Supervision commenced on May 23, 2014.


The supervisee has complied with the rules and regulations of Supervised Release and is no
longer in need of supervision. It is accordingly recommended that the supervisee be discharged
from supervision.


                                            Respectfully submitted,


                                               /s/ Garey R. White
                                                 Garey R. White
                                         United States Probation Officer


Dated:            September 29, 2015
                  Sacramento, California
                  GRW/sg

                             /s/ Matthew M. Faubert

REVIEWED BY:                  George A. Vidales
                              Supervising United States Probation Officer



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                                                                                                            Rev. 06/2015
                                                                              EARLY TERMINATION ~ ORDER (PROB35).DOTX
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PROB 35 (ED/CA)



Re:        Ryder Dee Phillips
           Docket No: 0972 2:11CR00428-006
           Report and Order Terminating Supervised Release
           Prior to Original Expiration Date




                                       ORDER OF COURT

Pursuant to the above report, it is ordered that Ryder Dee Phillips         be discharged from
Supervised Release, and that the proceedings in the case be terminated.

Dated: October 2, 2015




cc:        AUSA – Richard J. Bender
           FLU Unit – United States Attorney’s Office
           Fiscal Clerk - Clerk's Office
           Supervisee - Ryder Dee Phillips




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                                                                     EARLY TERMINATION ~ ORDER (PROB35).DOTX
